            Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 1 of 16



 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS




Mason Woolley                                                       )
434 N Pleasant Street                                               )
Amhetst, Massachusetts O1003                                        )
                                                                    )
                                     Plaintiff,                     )      Civil Action No:

          V.
                                                                    )
                                                                    )
                                                                           3: f 9-CV-30004--
University of Massachusetts                                         )
181 President' s Drive                                              )
Amherst, Massachusetts;                                             )
                                                                                                     ,..           ,._,
                                                                     )                        ,.. _, .
                                                                                                       . ".)                  =-~
                                                                    )                                                         ,...)


                                                                    )
                                                                     )
                                                                                                               -2
                                                                                                                     ~

                                                                                                                     ~         -,
                                                                    )                                          'N
                                                                                                                               . ,:,'   •
                                                                    )                                                                   m
                                                                                                               ==.        r 0
                                    Defendants,                     )
                                                                                                               -..
                                                                                                               .
                                                                                                                          -"T1 Il
                                                                                                               L•J        i    I




                                                  PARTIES



    1.   Plaintiff resides in Massachusetts in the county of Hampshire .

   2. Defendant resides at 181 President's Drive Amherst, Massachusetts in the county of Hampshire .




                                             JURISDICTION
       Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 2 of 16



1. This Court has subject matter jurisdiction over the federal claims raised pursuant to 28 U.S.C. §§

    1331 .

2. This Court has jurisdiction to issue injunctive, and other relief under

    28 U.S .C. §§ 2201 and 2202.




                                               FACTS



1. Plaintiff & Student, Mason Woolley has diagnosed medical conditions, which result in a

    disability; he suffers impairments, which result in disability, and has been received special

    services because of these impairments since the age of 5.

2. In the fall of 2017 student re-enrolled at the University of Massachusetts Amherst after a

    voluntarily withdraw due to medical problems in 2013 . At a later point, the University claimed

   the student was academically suspended although no notice was given to the student.

3. Student, Mason Woolley enrolled in in disability services to receive accommodations for his

    health ailments and disability; student provided a doctor' s note to that effect.

4. Student enrolled in Creative Writing or English 354 with Instructor John Goodhue. Student,

    Mason Woolley faced discrimination and hostile behavior from the professor in a meeting in

    October 2017 .



    Goodhue scheduled a meeting with the student where he attempted to persuade the student,

    Mason to withdraw from the course and that it was in his ' best interest' to do so . The instructor

   told the student (falsely and before completion of the course) that he was going to fail and he

    would fail no matter what the student did or the grades he earned. Instructor also refused to

    acknowledge excused absences and said he would count them as zero. Instructor cast aspersions
      Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 3 of 16



    on student's disability and doubted if it was ' real ' or not despite being aware of disability from

    disability services.



    Instructor falsely stated that the student missed three courses his entire grade would be lowered

    by 20 percent although the syllabus does not state this is the case for the entire grade, only for

   specific classes missed.



   Instructor Goodhue's body language and tone during the interaction indicated he was angry and at

   times, he was shaking with anger; the instructor also approached the student extremely close

   during the encounter and was at several points' inches away from him .

    Student was frightened by the encounter, concerned the instructor had acted in a discriminatory

   matter against him and did not feel safe to be alone in the company of the instructor again.

5. Student informed Disability Services of the incident and his concern regarding fairness of the

   professor, conerns he had been discriminated against and concerns his accommodations were

   adhered to university employee, Cynthia Wills whose position was consumer manager and role

   was to act as an advocate. Cynthia Wills ignored the student's concerns and took no actions .

    Student also informed Academic Dean Jackie Brousseau-Pereira who similarly ignored the

   student's concerns and took no actions. As result of the university' s failure to take action, the

    student concerns and needs were not met and he withdrew the course .

6. After withdraw, the student contacted Department Chair of the English Department, Randall

    Knoper who apologized for the instructor' s conduct and promised to implement a training

    program to train professors how to interact properly with disabled students. Although it did not

    appear any training program was implemented and student's future contact with Disability

    Services co-director Ben Ostiguy and Cynthia Wills regarding disability services and English

    department working on this program and he was ignored .
     Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 4 of 16



7. In the spring 2018 semester, student enrolled in Comparative Politics or PolySci 111 with

    Professor Timothy Pachirat. Student wanted to meet with Timothy Pachirat regarding his

   accommodations as he customarily did with all professors in order to establish the specifics of

    accommodations and eA1:ensions and so that only the professor is aware of his disability. Without

   the student's permission or necessity the teacher' s assistants for this course and in other courses,

   TA ' s were informed of the student's disability.



    Professor Pachirat initially refused to meet with the student and deferred the meeting to a TA ,

   then Professor Pachirat stated he would contact Disability Services regarding a meeting

    ostensibly to schedule a meeting, Professor Pachirat than informed Disability Services he would

    not meet with the student.

8. Per this course, one of the student's accommodations was "may require additional time to

    complete assignments". Student in accordance with this accommodation and his rights as a

    disabled individual under the ADA, asked the professor for additional time for online quizzes and

    the professor refused without a reason, which would have been excusable. Professor stated that he

    preferred this arrangement for "pedagogical" reasons. Student informed his consumer manager

    and advocate; Cynthia Wills of the refusal of the professor to make an accommodation, Wills

    took no action to ensure accommodation and informed the student she agreed with the professor.

    In response to Professor Pachirat, the student informed the professor he would file a complaint to

    uphold his right if the professor did not provide the accommodation. After this, the professor

    reluctantly agreed and referred to the student's exercise of his rights as a ''threat" and referred to

    the accommodation as "capacious".

9. After this incident and the prior incident with Instructor Goodhue, the student, Mason was

    concerned with the competence, reliability and helpfulness of his consumer manager, Cynthia and

    sought a new manager to be assigned to him . Student was concerned the consumer manager' s

    actions precluded him from receiving the proper accommodations and support he needed and
     Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 5 of 16



   when facing adverse action by faculty, the consumer manager failed to stand up for the student's

   rights and advocate on his behalf in consideration of his disability Therefore, student contacted

   Disability services in early March and requested a meeting with then co-director, Ben Ostiguy.

   His request for a change and meeting was ignored several weeks and when he finally spoke with

   Ben Ostiguy, he promised to consider changing the student' s consumer manager but took no

   action.

10. In a meeting with Academic Dean, Jackie Brousseau-Pereira, student was discouraged from

   seeking accommodations and was told that he is not always entitled to an accommodation by the

   University.

11. In May the student, Mason was given notice of an ' academic dismissal ' and the option to appeal

   it; within this email it stated per University' s rules and regulations it requires that the academic

   dean make the decision and if it is unfavorable, the student may appeal it to the Committee on

   Admissions and Records. The Dean refused to follow the proper process and instead sent the

   decision to the Committee on Admission and Records. Furthermore, it is stated that academic

   dismissal can only occur if the prior semester the student's GPA was below a 2.0; the student' s

   GPA was above a 2.0 and a 2.7 GPA for the semester.

12. Academic Dean, Pereira wrote a cover letter to the aforementioned committee, the official role

   and duty of the committee is to make a decision on academic merit and mitigating factors

   affecting a student's academic performance. Despite this being the case, the dean's cover letter

   largely included non-academic information including concern of the student's email

   correspondence with faculty and copy an email correspondence. It also included the

   recommendation rtiat he be withdrawn because of the undergraduate ' s advisors personal opinion

   and feelings towards the student. The cover letter also discussed the student's social interactions

   and social skills and referred to them in a negative and disparaging manner as "hostile".
     Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 6 of 16



   In a prior meeting with the Dean, student was asked what his disability was and the Dean

   expressed this would be kept in confidence and she only asked out of "concern". The student

   informed the Dean of one of his disabilities and after that point, the Dean asked the student what

   the name of his doctor' s office was, the doctor and where it was located.

   The dean relayed this information to the Committee without the student's permission and

   mischaracterized his health problems as resulting in "fears" that "may not" seem " rational" . At

   no point did the student state to the Dean his disability or otherwise his thinking or actions were

   not rational .

   The committee did not acknowledge all mitigating circumstances and the student were not

   allowed to attend the hearing.

13 . The student was informed on July 12 2018 his appeal was denied, no reason or explanation was

   given. Student repeatedly sought an eA'J)lanation and no official explanation was given by the

   university register' s office. On July 27 th 2018 the student asked the university for records and

   minutes of the committee meeting regarding his dismissal and he was initially promised it would

   be given to him and within '45 days ' the FEPRA deadline . These records were never provided to

   the student and subsequent requests were ignored.

14. During the summer, student, Mason met with then co-director Ben Ostiguy and Academic Dean,

   Jackie Brousseau-Pereira regarding his dismissal . Co-director, Ben Ostiguy informed the student

   during his conversation that faculty and staff perceived the student as having poor social skills

   and often misinterpreted them . Student asked Ben ifhe thought this effected the actions and

   treatment towards the student and he said it was likely yes and that he had a 'history' of this

   problem and this his behavior likely caused resentment which was later take out on him .

   Student's social skills and interactions are effected by his disability; however it was not until the

   academic dismissal that he was aware his social interactions results in adverse actions and

   behaviors against the student.
     Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 7 of 16



15. In the meeting with Dean Pereira, the student asked why it being his second semester back and

   earning decent grades, C ' s and B' s, was he being withdrawn? He stated that it did not make any

   sense. Dean Pereira said to the student "You know Mason I am always honest with you .. . . Can I

   be honest with you now?" Dean Pereira then informed the student that the actual reason for

   withdraw was his social skills and discontentment over emails he had sent to faculty and staff.

16. Student continued to reside in an apartment on campus with which he had a signed contract to

   reside in until 8/31/2018. On July 31 , 2018 weeks after the official academic withdraw and days

   after he informed the college, he had filled a HUD complaint for refusal to provide a housing

   accommodation, he was given a two-day notice to vacate the apartment. Not only was this

   indecent it did not adhere to Massachusetts housing law. Student informed academic dean, dean

   of students and resident life that because of his disability and contract he sought an extension and

   that he be allowed to move out on 8/31/2018. This was refused; student's back disorder and

   disability made it very hard for the student to figure out how to attain housing on such short-

   notice .

   Student was informed by Resident Life ifhe did not move out within 2 days, than umass police

   would become involved. Student feeling he had no choice and fearful for his safety, did move

   out two days later and on that day he was approached by an armed undercover police officer,

   Jeffrey Silvia who introduced himself and told him that he was being watched. The student did

   not commit a crime nor was he accused of one and there was no legitimate basis for the officer' s

   presence.

   As result of the abrupt loss of his apartment, the student became homeless.

17. Student attended two job-recruiting events with Epsilon Marketing and TJX Companies, the latter

   that promised a starting salary 55k a year or higher; however this was contingent upon student's

   degree.

18 . Student's lower grades than he otherwise would have earned given the university' s treatment and

   failure to accommodate, student' s aggravated back pain as result of being homeless that has
       Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 8 of 16



     resulted in several hospitalizations, homelessness and mental anguish has effectively precluded

     the student from transferring and completing his degree at another university.




                                              COUNTS



1.   Violation ofSection 504 of the Rehabilitation Act



     Section 504 of the Rehabilitation Act requires programs or activities that receive federal financial

     assistance to refrain from discriminating against individuals on the basis of disability. The

     University of Massachusetts receives federal grants and other forms of federal financial

     assistance .


     Section 504 states"
     No otherwise qualified individuals with handicaps in the United
     States, as defined in section 7(8) of this title, shall, solely by reason of
     his/her handicap, be excluded from the participation in, be denied the benefits
     of, or be subjected to discrimination under any program or activity receiving
     Federal financial assistance "


     A. The defendant, University of Massachusetts and its employees discriminated against plaintiff,

         Mason Woolley as stated below:

         1. University employee, Instructor Goodhue discriminated against the student, Mason both

              when he treated the student in a hostile way and encouraging the student to withdraw by

              telling him he was guaranteed to fail and falsely citing his syllabus.

         2. University of Massachusetts Disability Services failed to remedy or protect the student

              from discrimination by Insructor Goodhue once it became aware .
Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 9 of 16



 3. Academic dean Jackie Brousseau-Pereira failed to remedy or protect the student from

     discrimination by Instructor Goodhue once she was aware . As result of discrimination

     and mistreatment, the student withdrew from the course .

 4. English Department Chair admitted and apologized for the discrimination, however when

    the time came to implement a training program for instructors, no action was taken.

 5. Professor Pachirat discriminated against the student by refusing to extend an

     accommodation. Professor put his preferences first despite disadvantage and harm it

     rendered the student by denying him the full opportunity to perform in the class to his

     abilities.

 6. Cynthia Wills of University Disability Services and consumer manager of the student

     agreed with the professor and therefore tacitly approved of his discrimination or took no

     action despite being aware of it.

 7. In a meeting with Academic Dean, Jackie Brousseau-Pereira and in reference she made to

     Timothy Pachirat, student was discriminated by the dean when she discouraged the

     student from seeking accommodations and telling him, he is not always entitled to

     accommodations.

 8. Academic Dean Pereira discriminated against the student in the recommendation sent to

     the committee on admissions and records .

     The dean shared the student's medical information in an adverse manner to the

     committee that was making the decision on his academic appeal .

     Dean falsely implied the student's thoughts and behavior were irrational and falsely

     conveyed the student's comments as supporting such. Furthermore, the Dean acted

     discriminately by conveying his disabilities as "mental health struggles" and claimed they

     were not actually the student's ''health concerns" or what would otherwise be covered

     under student's accommodations . Student's health condition and disorder are the basis of

     his disability .
 Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 10 of 16



B. The defendant, University of Massachusetts and its employees excluded from participation

   and/or denied benefits against plaintiff, Mason Woolley as stated below:

    1. Instructor Goodhue sought to deny the student, Mason participation in his course by

         encouraging withdraw and in tantamount with aspersions cast on the student's disability.

   2. University of Massachusetts Disability Services denied the benefits of services, which

         includes support of the student and protection against discrimination by ignoring the

         reporting of discrimination and misconduct by Instructor Goodhue.

   3. Academic Dean' s office denied the benefits of their office, which may have extended to

         intervention on the student's behalf by ignoring the student is reporting of discrimination

         and misconduct by Instructor Goodhue.



   4. Professor Pachirat excluded the student by refusing to meet with him discussing

         accommodation and therefore preventing a full and total disclose by student of his needs

         so that he would be able to perform to the best of his ability.



   5.    Student was denied the benefits of proper support and services when his request for a

         new consumer manager was ignored.



   6. Student was excluded from participation and denied the benefits of a fair, accurate and

         transparent hearing on his academic appeal by not being allowed to attend and speak on

         his behalf of the committee for admissions on the records. The student's disabilities and

         the impact on his life and academic life, something he can only fully know and

         communicate would have been particularly relevant to the committee to ensure the full

         benefit of a fair and proper decision .

    7.   University Disability Services co-director Ben Ostiguy informed the student he was

         aware of mistreatment on the basis of the student's social interactions. Ben Ostiguy was
     Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 11 of 16



              aware of the student' s academic dismissal appeal and despite the student's communicated

              concerns the withdraw was improper; Ben Ostiguy took no apparent action to convey to

              the committee, registrar' s office or an administrator of the school the student has been

              treated differently and adversely because of his social interactions. Ben Ostiguy excluded

              the student by his inaction and benefits decision makers in his academic dismissal may

              have conferred in a favorable decision upon being made aware and informed.

         8. Student was denied the benefits of an accommodation he requested for his apartment by

              University Residence Life when it refused to provide one stating it was "unable" to do so .

         9.   As result of Defendant University of Massachusetts 's actions and inactions, Mason

              Woolley suffered and continues to suffer emotional suffering and psychological injury.

         10. As a result of Defendant University of Massachusetts ' s violations of The Rehabilitation

              Act, plantiff is entitled to compensatory damages, consequential damages, and equitable

              relief.




2.   Violation ofAmerican with Disabilities Act

     Title II of the ADA requires that public entities refrain from discriminating against individuals on

     the basis of disability . 42 U.S.C. § 12132. The regulations implementing Title II of the ADA

     require that public entities avoid unnecessary policies, practices, criteria or

     methods of administration that have the effect or tendency of excluding or discriminating against

     persons with disabilities. 28 C.F.R § 35 .130(b)(3). Further, the regulations require that public

     entities provide reasonable modifications to their policies, practices, or procedures in order to

     avoid discrimination on the basis of disability.

     28 C.F.R § 35.130(b)(7).
Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 12 of 16



To provide comprehension of the Act in relation to plaintiffs suit the following is cited: Under
Findings & Purposes of the American with Disability Acts congress declared: 'The Nation's
proper goals regarding individuals with disabilities are to assure equality of opportunity, full
participation, independent living, and economic self-sufficiency for such individuals; and the
continuing existence of unfair and unnecessary discrimination and prejudice denies people with
disabilities the opportunity to compete on an equal basis and to pursue those opportunities for
which our free society is justifiably famous .. "


The University of Massachusetts and its employees discriminated against plaintiff, Mason

Woolley as stated below:



    1. The plantiff re-alleges Count 1:A, paragraphs 1-8 and incorporates them herein by

        reference.

    2. Instructor John Goodhue failed to modify his policies and behavior towards the student,

        Mason to ensure he would have equal access to the class and accommodations he needed

        to complete it. Disability Services after becoming aware failed to instruct Instructor

        Goodhue to change his policies and behavior towards the student.

    2. Disability Services and English Department took no action to implement a training

        program for professors despite a change in policy or programs being consistent with the

        ADA.

    3. Professor Timothy Pachirat refused to provide an accommodation in a manner which is

        consistent with the American with Disabilities Act, which only allows exemption under

        undue hardship. Pachirat's reason for refusal as explicitly communicated was for

        pedagogical reasons. University Disability Services when becoming aware of this took

        no action and did not instruct the professor to respect the student's accommodation and

        act consistently with the law; alas, they agreed with it.

    4. Professor Pachirat referred to student's accommodation disparagingly as "capacious" and

        called the student's exercise of his rights under the American with Disabilities Act as a

        "threat" .
Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 13 of 16



  5. University Disability Services discriminated against the student when it failed to change

       his consumer manager therefore tolerating her past actions and failed to change its

       policies on consumer managers as necessitated .

  6. Given the totality of the discrimination and failure of the defendant to respect the

       student's rights it is likely the student was discriminated against when the University

       began the academic dismissal process despite it clearly not being justified under its own

       policies. Student earned a 2.7 GPA the prior semester. University of Massachusetts

       Amherst policy states "A dismissal results when you have had any previous semester on

       Academic Suspension, and your cumulative GPA again falls below 2.000."

  7.   Co-Director of University Disability Services, Ben Ostiguy informed the student he had

       been misunderstood and treated differently because of his social interactions(which

       stemmed from his disability). Ostiguy failed to accommodate the student by informing

       the University and relevant offices and administrators post facto of the academic

       dismissal process of the negative impact on the student's career. The University failed to

       modify its procedure in relation thereof.

  8. Academic Dean, Jackie Brousseau-Pereira informed the student the reason for his

       dismissal was because of his social interaction and email correspondence with faculty and

       staff and therefore dismissal was not as ostensibly justified because of his GPA.

       This is supported by the cover letter sent to the committee which is largely non-academic

       in nature in listing the reasons to affirmy or deny the academic dismissal . Among the

       reasons supporting the Dean's revelation in the cover letter:

       Reference and attachment of correspondence between student, Mason and Professor,

       Andrea Malaguti and reference to the student's interactions as "rude." Reference to and

       copy of correspondence between student and political science department Jane Fountain

       and referring to it as "drawn out" and "complicated". Most disconcerting is an explicit
Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 14 of 16



     reference for reasons of dislike of student's interaction by undergraduate advisor, Adrian

     Grace that she would "like" to see the student dismissed.

  11. The university discriminated against the student as outlined in above paragraph 8 because

     it adversely acted against the student on the basis of social difficulties and poor social

     skills stemming from his disability. Furthermore, once the appropriate university staff

     was made aware no action was taken to modify university procedures and policies to

     ensure an equal outcome consistent with student' s disability.

  12. On July 31,2018 the student was discriminated against when he given two days to move

     out of his apartment, student asked Academic Dean Jackie Brousseau-Pereira, Resident

     Life and Associate Chancellor Susan Pearson that he be allowed to live in his apartment

     until the agreed upon date of 8/31/2018 because of his disability and the difficulty posed

     by abruptly moving out. The impact of loss of housing on Student's disability was

     ignored and his request denied. Student as result became homeless and suffered

     aggravation of his back disorder, which resulted in increased physical pain and

     hospitalization.



  13. As result of Defendant University of Massachusetts' s actions and inactions, Mason

     Woolley suffered and continues to suffer emotional suffering and psychological injury.




  14. As a result of Defendant University of Massachusetts' s violations of Title II of the ADA,

      plantiff is entitled to compensatory damages, consequential damages, and equitable relief.
•        Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 15 of 16




    WHEREFORE, Plaintiff respectfully asks the court to grant:



    1. Award plaintiff compensatory damages for emotional distress, and mental anguish in the amount

       of 200,000 dollars from the Defendant.

    2. Award Plantiff compensatory damages for loss of future income and economic harm in the

        amount of 931 , 240 dollars.

    3. Award plaintiff consquential damages for making him homeless, aggravation of his medical

        conditions and back disorder in the amount of 150,000 dollars from the Defendant

    4. Issue a preliminary injunction enjoining defendant to allow course registration and enrollment

        and upon conclusion of trial, a permanent injunction.

    5. Waive security bond for preliminary injunction in relation to Federal Rules of Civil Procedure 65

        (c) .

    6. Award such relief as the court deems appropriate.




                                                                                 Respectfully submitted,
.   '   •   Case 3:19-cv-30004-MGM Document 1 Filed 01/22/19 Page 16 of 16



                                                                       Mason Woolley
                                                               434 North Pleasant Street
                                                                Amherst, Massachusetts
                                                            rnasonlawernail@grnail .corn
                                                                         828-237-3605
                                                                                 Pro Se
